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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                       WESTERN DIVISION

UNITED STATES OF AMERICA                                         PLAINTIFF

v.                       No. 4:14-cr-232-DPM-15

RONALD HEATH SWAIM                                             DEFENDANT

                                 ORDER

      Motion, Ng 1092, granted. Forfeiture Allegations Three and Four in the

Superseding Indictment, NQ 136 at 33, are dismissed as to Swaim.

      So Ordered.




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